52 F.3d 1122
    311 U.S.App.D.C. 277
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Regina McCONNELL, Appellant,v.HOWARD UNIVERSITY, Appellee.
    No. 94-7119.
    United States Court of Appeals, District of Columbia Circuit.
    April 10, 1995.
    
      Before:  SILBERMAN, GINSBURG, and RANDOLPH, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This appeal was considered on the record from the United States District Court for the District of Columbia and on the briefs of counsel.  The court is satisfied, after reviewing the parties' briefs, that appropriate disposition of the case does not call for further opinion.  See D.C.Cir.Rule 36(b).
    
    
      2
      It is ORDERED and ADJUDGED that the order and judgment from which this appeal has been taken be AFFIRMED substantially for the reasons stated in the district court's memorandum opinion of May 19, 1994.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41(a)(2).  This instruction to the Clerk is without prejudice to the right of any party at any time to move for expedited issuance of the mandate for good cause shown.
    
    